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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF INDIANA
               IT IS FURTHER ORDERED that the application and this Order are sealed until
                                  NEW ALBANY DIVISION
   otherwise ordered by the Court.
 CANDACE JARRELL,

              Plaintiff,
    IT IS SO ORDERED
          v.

 HEALTHCARE REVENUE COMPANY
 GROUP, LLC d/b/a ARS ACCOUNT
                   Date: 1/27/2017                  Case No. 4:21-cv-00049-TWP-DML
 RESOLUTION SERVICES, EXPERIAN                         ________________________
 INFORMATION SOLUTIONS, INC., and                      Hon. Tanya Walton Pratt, Judge
 EQUIFAX INFORMATION SOLUTIONS,                        United States District Court
 LLC,                                                  Southern District of Indiana

                  Defendants.


                              ORDER ON STIPULATION TO DISMISS

          Plaintiff Candace Jarrell (“Plaintiff”), by counsel, and Defendant Experian Information

 Solutions, Inc., (“Defendant”), by counsel, having filed their Stipulation of Dismissal with

 Prejudice, AND THE COURT, having been duly advised, NOW FINDS that the same should be

 granted.

          IT IS, THEREFORE, ORDERED that all claims of Plaintiff against Defendant are

 dismissed, with prejudice. Plaintiff and Defendant shall each bear their own costs and attorneys’

 fees.


                 Date: 11/8/2021




         Distribution to all electronically
         registered counsel of record via
         CM/ECF
